     Case 2:14-cr-00099-APG-PAL           Document 124        Filed 05/02/17    Page 1 of 1




 1                                UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                     ***
 4     UNITED STATES OF AMERICA,                             Case No. 2:14-cr-00099-APG-PAL
 5                           Plaintiff,
                                                             ORDER GRANTING MOTIONS TO
 6           v.                                              DEFER RULING
 7     VON WHITE and MICHAEL KNAPP,                          (ECF NOS. 119, 120)
 8                           Defendants.
 9

10           IT IS ORDERED that defendant von White’s unopposed motion to defer ruling for 30

11    days (ECF No. 119) is GRANTED. Defendant Von White shall have until May 4, 2017 to file a

12    supplement to his motion under 28 U.S.C. § 2255 addressing the decision in Beckles v. United

13    States, 137 S. Ct. 886 (2017). The United States may file a response ten days after it receives

14    White’s supplement.

15           IT IS FURTHER ORDERED that defendant Michael Knapp’s motion for joinder in

16    motion to defer a ruling (ECF No. 120) is GRANTED. Defendant Michael Knapp shall have

17    until May 11, 2017 to file a supplement to his motion under 28 U.S.C. § 2255 addressing the

18    decision in Beckles v. United States, 137 S. Ct. 886 (2017). The United States may file a response

19    ten days after it receives Knapp’s supplement.

20           DATED this 2nd day of May, 2017.

21

22                                                           ANDREW P. GORDON
                                                             UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28
